                           Case 5:21-cv-06374-BLF Document 9 Filed 09/15/21 Page 1 of 3

 Attorney or Party without Attorney:                                                                             For Court Use Only
 Pavithra Rajesh
 GLANCY PRONGAY & MURRAY LLP
 1925 Century Park East, Suite 2100
 Los Angeles, CA 90067
   Telephone No: 310-201-9150

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 VIEW10B

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
     Plaintiff:   ASIF MEHEDI, Individually and on Behalf of All Others Similarly Situated
 Defendant:       VIEW, INC. f/k/a CF FINANCE ACQUISITION CORP. II; et al.

           PROOF OF SERVICE                    Hearing Date:             Time:           Dept/Div:    Case Number:
                                                                                                      5:21-cv-06374-BLF


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons In A Civil Action; Class Action Complaint; Civil Cover Sheet; Consent Or Declination To
      Magistrate Judge Jurisdiction; Standing Order Re Civil Cases Judge Beth Labson Freeman; Notice Of Eligibility For Video
      Recording; Order Setting Initial Case Management Conference And ADR Deadlines; Joint Case Management Statement &
      [Proposed] Order

3.    a.    Party served:      VIEW, INC. f/k/a CF FINANCE ACQUISITION CORP. II
      b.    Person served:     Bill Krause, Senior Vice President, General Counsel & Secretary

4.    Address where the party was served:       195 S Milpitas Blvd, Milpitas, CA 95035

5.    I served the party:
      a. by substituted service.       On: Tue, Sep 07 2021 at: 04:03 PM by leaving the copies with or in the presence of:
                                       Abel Rassa, Person in charge

       (1) (Business) a Person in charge at least 18 years of age apparently in charge of the office or usual place of business of the
       person served. I informed him or her of the general nature of the papers.
       (2) A declaration of mailing is attached.




6. Person Who Served Papers:
   a. Ellenor Rios (PS0984, Santa Clara)                                         d. The Fee for Service was: $208.88
   b. FIRST LEGAL
      1517 W. Beverly Blvd.
      LOS ANGELES, CA 90026
   c. (213) 250-1111



7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 09/08/2021

                                                                                    (Date)                             (Signature)




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FlRSTLEGAI.
                                                                     PROOF OF
                                                                      SERVICE
                                                                                                                                        6087210
                                                                                                                                      (4757724)
                           Case 5:21-cv-06374-BLF Document 9 Filed 09/15/21 Page 2 of 3

 Attorney or Party without Attorney:                                                                            For Court Use Only
 Pavithra Rajesh
 GLANCY PRONGAY & MURRAY LLP
 1925 Century Park East, Suite 2100
 Los Angeles, CA 90067
   Telephone No: 310-201-9150

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 VIEW10B

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
     Plaintiff:   ASIF MEHEDI, Individually and on Behalf of All Others Similarly Situated
 Defendant:       VIEW, INC. f/k/a CF FINANCE ACQUISITION CORP. II; et al.

           PROOF OF SERVICE                    Hearing Date:             Time:           Dept/Div:   Case Number:
                                                                                                     5:21-cv-06374-BLF
               By Mail
1.    I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.    I served copies of the Summons In A Civil Action; Class Action Complaint; Civil Cover Sheet; Consent Or Declination To
      Magistrate Judge Jurisdiction; Standing Order Re Civil Cases Judge Beth Labson Freeman; Notice Of Eligibility For Video
      Recording; Order Setting Initial Case Management Conference And ADR Deadlines; Joint Case Management Statement &
      [Proposed] Order

3.    By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage
      prepaid as follows:
      a. Date of Mailing: Tue, Sep 7, 2021
      b. Place of Mailing: LOS ANGELES, CA 90026
      c. Addressed as follows: VIEW, INC. f/k/a CF FINANCE ACQUISITION CORP. II
                                195 S Milpitas Blvd, Milpitas, CA 95035

4.    I am readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
      Service on Tue, Sep 7, 2021 in the ordinary course of business.




5. Person Serving:
   a. THOMAS TILCOCK                                                     d. The Fee for Service was: $208.88
   b. FIRST LEGAL
      1517 W. Beverly Boulevard
      LOS ANGELES, CA 90026
   c. (213) 250-1111



6.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 09/08/2021
                                                                                    (Date)                          (Signature)




m
FIRSTLEGAL
                                                                 PROOF OF SERVICE
                                                                     BY MAIL
                                                                                                                                       6087210
                                                                                                                                     (4757724)
         Case 5:21-cv-06374-BLF Document 9 Filed 09/15/21 Page 3 of 3




 1                       PROOF OF SERVICE BY ELECTRONIC POSTING
 2          I, the undersigned say:
 3          I am not a party to the above case and am over eighteen years old. On September 15, 2021, I

 4 served true and correct copies of the foregoing document, by posting the document electronically to
 5 the ECF website of the United States District Court for the Northern District of California, for receipt
 6 electronically by the parties listed on the Court’s Service List.
 7          I affirm under penalty of perjury under the laws of the United States of America that the
 8 foregoing is true and correct. Executed on September 15, 2021, at Los Angeles, California.
 9
10                                                        s/ Pavithra Rajesh
                                                          Pavithra Rajesh
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